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                                                                                FILED
                             UNITED STATES DISTRICT COURT                                -
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION                        'LOS
                                                                               STER

UNITED STATES OF AMERICA,

       Plaintiff,

V.                                                   No. 5:21CV844-XR (Lead Case)

STATE OF TEXAS, et al.,                              No. 5:21 CV 1 085-XR (Consolidated Case)

       Defendants.

 MISSOURI SECRETARY OF STATE JOHN R. ASHCROFT'S MOTION FOR LEAVE
 TO FILE AMICUS BRIEF IN SUPPORT OF DEFENDANTS' MOTION TO DISMISS

       Amicus Curiae Missouri Secretary of State John R. Ashcroft asks this Court to grant him

leave to file an amicus brief in this case, by December 31, 2021, in support of the State of Texas'

and Texas Secretary of State John Scott's motion to dismiss the United States' amended complaint,

ECF No. 145. Secretary Ashcroft has communicated with counsel for the United States and

counsel for the State of Texas regarding this motion. Counsel for Defendants State of Texas and

Texas Secretary of State John Scott responded that Defendants have no objection to this motion

and no objection to Secretary Ashcroft's request to file his amicus brief by December 31. Counsel

for the United States responded that the United States takes no position on either this motion or

Secretary Ashcroft' s request to file his amicus brief by December 31.

       Missouri Secretary of State John R. Ashcroft' s amicus brief will aid and assist this Court

in adjudicating this case. John R. Ashcroft was elected as Missouri's 40th Secretary of State in

November 2016 and reelected in November 2020. Secretary Ashcroft is Missouri's "chief state

election official," supervises an Elections Division of his office, including an Election Integrity

Unit, and is authorized to receive and investigate election-related complaints under the Help

America Vote Act and complaints of violations of Missouri's election law. Mo. Rev. Stat.
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§28.035. Like Texas, Missouri's election statutes have undergone recent reform, resulting in

changes to election administration in Missouri. In 2016, the citizens of Missouri amended the state

constitution to enable the legislature to require that voters produce identification, including

"government-issued photo identification," in order to cast a ballot. See Mo. Const. Art. VIII § 11;

Mo. Rev. Stat.   § 115.427.   Missouri's voter identification statute was challenged, and Secretary

Ashcroft defended the law as enacted. See Priorities USA       v.   State of Missouri, 591 S.W.3d 448

(Mo. 2020).    Thus, Secretary Ashcroft has particular experience and expertise that would be

helpful to this Court in enforcing state voter integrity reform legislation.

        Secretary Ashcroft has additional specialized expertise in election administration.

Secretary Ashcroft is a licensed attorney and also holds degrees in engineering management, has

taught college engineering and technology courses, and has earned multiple certifications in citizen

privacy and data protection from the International Association of Privacy Professionals. Prior to

supervising Missouri elections as Secretary of State for the past five years, Secretary Ashcroft

practiced law, counseling clients on legal issues ranging from regulatory compliance to patent

prosecution and election law. Secretary Ashcroft's background in education, engineering, data

protection, and the law has provided him a unique and professional perspective on election

administration and security.       Secretary Ashcroft is also an active member of the National

Association of Secretaries of State (NASS). In 2021, Secretary Ashcroft served as the chairman

of the NASS Elections Committee and was a member of the NASS Government Coordinating

 Council.    He is currently one of two Missouri members serving on the Election Assistance

 Commission Standards Board. Secretary Ashcroft spearheaded the first National Election Security

 Summit, held in St. Louis, where he coordinated a program that included national election security

 experts, local experts from all over the country, and a keynote address from Kirstjen Nielsen,



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former U.S. Secretary of Homeland Security. Election officials from twenty-five states and a

bipartisan group of ten secretaries of state attended the event.

        Secretary Ashcroft's amicus brief will aid the Court in adjudicating the State of Texas' and

Secretary of State John Scott's pending motion to dismiss the United States' amended complaint.

Secretary Ashcroft's amicus brief will bring needed perspective and complement           not duplicate

 the briefs of the parties and any other amicus brief. This Court has allowed briefs to be filed in

La Union del Pueblo Entero, et al.    v.   Abbott, et al., No. 5:21 CV844, and the other consolidated

cases. See ECF Nos. 121, 122, and Order of November 16. Secretary Ashcrofi seeks to assist this

Court specifically regarding the United States' claims against the State of Texas' election integrity

reforms. This Court has broad discretion in permitting the filing of amicus briefs that will assist

the Court in specialized areas of law, such as election administration and voting rights. See

Lefebure v. D'Aquilla, 15 F.4th 670, 675 (5th Cir. 2021) ("courts should welcome amicus briefs

for one simple reason: '[I]t is for the honour of a court ofjustice to avoid error in their judgments.'

  Then-Judge Auto put it this way:   '[Am       amicus who makes a strong but responsible presentation

in support of a party can truly serve as the court's friend.") (quoting The Protector      v.   Geering,

145 Eng. Rep. 394 (K.B. 1686), and NeonatologyAssociates v. Commissioner ofInternal Revenue,

293 F.3d 128, 131(3rd Cir. 2002)); Halo Wireless, Inc.        v.   Alenco Commons, Inc., 684 F.3d 581,

596 (5th Cir. 2012) ("[am amicus brief should normally be allowed...when the amicus has unique

information or perspective that can help the court beyond the help that the lawyers for the parties

are able to provide.") (quoting Ryan       v.   CFTC, 125 F.3d 1062, 1063 (7th Cir. 1997). Secretary

Ashcroft's unique and professional experience, expertise, and perspective will assist this Court in

adjudicating this case.
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       Finally, filing an amicus brief by December 31 will not prejudice either party's ability to

fully respond to the United States' amended complaint or the State of Texas' motion to dismiss

the amended complaint. On December 14, the State of Texas filed an unopposed motion asking

this Court to extend its deadline to file an answer to the amended complaint by January 5, 2022.

See ECF No. 144. On December 17, the United States filed an unopposed motion asking this

Court to extend its deadline for the government to file its response to Texas' motion to dismiss

until January 18, 2022. See ECF No. 158. The Court granted both motions. See ECF No. 158

and Order of December 20. Accordingly, the United States will have over two weeks to review

Secretary Ashcroft's amicus brief prior to filing its response to Texas' motion to dismiss.

       WHEREFORE, Missouri Secretary of State John R. Ashcroft asks this Court to grant him

leave to file an amicus brief in this case by December 31, 2021.

                                        Respectfully submitted,

                                       /s/ Mark F. (Thor) Hearne, II
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                                CERTIFICATE OF SERVICE

       I certify that a true and accurate copy   of the foregoing document was sent on December

21, 2021, via Federal Express next day delivery to the following:

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                                                     /s/Mark F. (Thor) Hearne, II
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                                                      Missouri Secretary of State John R. Ashcrofi
